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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

 

 

 

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ORIOL PAVON CASE NO: 3 1 0 \
Plaintiff,
ZMC HOTELS, INC d/b/a
HAMPTON INN 0
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Defendant. §§
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COMPLAINT pr m

COMES NOW the Plaintiff, ORIOL PAVON, by and through his §&;rsi§\ed
counsel, and sues the Defendant, ZMC HOTELS, INC. d/b/a HAMPTON INN (hereinafter
referred to as "Hampton lnn") and for his cause of action, states the following:

1. This Court has original jurisdiction over the action pursuant to 28 U.S.C. §

1331 and 1343 for plaintiffs claims arising under the Americans with
Disabilities Act ("ADA"),42 U.S.C. §§ 12181, et seq., Declaratory Judgment
Act, 28 U.S.C. §2201, and supplemental claims jurisdiction pursuant to 28
U.S.C. § 1367.

2. Defendant, ZMC HOTELS, INC. d/b/a HAMPTON INN is a Minnesota
Corporation licensed to do and doing business in Hillsborough County,
Florida. At all times material herein, Hampton lnn owns and/or operates the
hotel located at 4817 West Laurel Street, in Tampa, Florida, 33607.

3. Plaintiff, ORIOL PAVON, (hereinafter “PAVON”) is a person who is deaf.

\"W 0 :) 1 Accordingly, PAVON is a qualified individual with disabilities under the

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Americans with Disabilities Act,

4. PAVON called Defendant to make reservations at Hampton lnn’s hotel
(hereinafter “HOTEL”) using a telephone relay service for the deaf to make
reservations at the HOTEL from October 31, 2003 to November 2, 2003.
When PAVON made the reservation, he advised them that he was deaf and
required an ADA kit.

5. An ADA kit customarily refers to a TTY/TDD, strobe door-bell, fire alarm
and alarm clock.

6. Upon arriving at the hotel, PAVON requested the ADA kit, and was told by
the employee at the front desk that they did not have one, but would speak to
the manager and to come back later.

7. PAVON came back again the same night and was told that they had nothing
for him.

8. PAVON spoke to another front desk attendant, that same night, and was told
that they had no ADA kit, and would look into getting him one the next day.

9. The next morning, PAVON was told that the hotel was not able to find an
ADA kit,

10. PAVON asked approximately three other times, and was told the same
answer.

1 1. PAVON was denied his equal use and enjoyment of the hotel by the denial of
all auxiliary aids and services to the deaf or hard of hearing.

12. PAVON would return to the hotel in the near future if provided proper

auxiliary aids and services.

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13. Defendant owns approximately forty hotels in the United States.

14. On May 24, 2004, Plaintiff timely filed a Public Accommodation Charge of
Discrimination with the Florida Commission on Human Relations based
upon the Florida Civil Rights Act of 1992, §§ 760.01-760.11 and §509.092,
F 1a. Stat. On January 12, 2005 , the Florida Commission on Human Relations
investigated said incident for over 180 days, and dismissed said case so
Plaintiff could file a case in a court of competent jurisdiction, pursuant to Fla.
Stat. 760.11(8). Such determination satisfies any condition precedent for
bringing this action.

15. Any other conditions precedent to the filing of this action has been
completed, or have been waived.

COUNT I - Violation of the Americans with Disabilities Act of 1990

16. Plaintiff restates paragraphs one through 15 as if alleged herein.

17. The Hampton Inn is a public accommodation pursuant to 42 U.S.C. 12181.

18. Plaintiff has been discriminated against on the basis of his disability in the
full and equal enjoyment of the services and facilities of the Defendant
herein.

19. Public accommodations, such as Hampton Inn, are required to take those
steps that may be necessary to ensure that no individual with a disability is
excluded, denied services, segregated or otherwise treated differently than
other individuals because of the absence of auxiliary aids and services.

20. Defendant violated the Americans with Disabilities Act by failing to have the

required number of sleeping accommodations for persons with disabilities,

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with visual alarms, notification devices, and TTY/TTD telephones, pursuant
to Americans with Disabilities Act Accessibility Guidelines (ADAAG), §
9.1.3.

21 . Pursuant to ADAAG § 9.3.1, Defendant has failed to provide auxiliary visual
alarms and visual notification devices to alert room occupants of incoming
telephone calls and a door knock or bell.

22. Providing an ADA kit would, in no way, fundamentally alter the nature of the
goods, services, facilities, privileges, advantages, or accommodations being
offered or would result in an undue burden, i.e., significantly difficulty or
expensive, on the Defendant

23. Public accommodations, such as Hampton Inn, shall furnish appropriate
auxiliary aids and services where necessary to ensure effective
communication with individuals with disabilities

24, A public accommodation, such as Hampton hin, that offers a customer,
client, patient, or participant the opportunity to make outgoing telephone calls
on more than an incidental convenience basis shall make available, upon
request, a TDD for the use of an individual who has impaired hearing or a
communication disorder.

25. A public accommodation shall maintain in operable working condition those
features of facilities and equipment that are required to be readily accessible
to and usable by persons with disabilities

26. Defendant Hampton Inn had prior knowledge of the hearing impairment of

Plaintiff, and in reckless disregard of his rights, failed to provide any

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auxiliary aids or devices for the entire duration of his stay at the hotel.

27 . Plaintiff has retained the services of The Law Offices of Matthew W. Dietz,
P.L., and has agreed to pay them a reasonable fee for services in the
prosecution of this cause, including costs and expenses incurred in this
action, Plaintiff is entitled to recover those attorneys' fees, costs and expenses
from Defendant pursuant to 42 U.S.C. §12205.

28. Pursuant to 42 U.S.C. 12188(a), this court is provided authority to grant
Plaintiff permanent injunctive relief, including modification of policies and
prohibiting such discrimination throughout all of Defendant’s hotels.

WHEREFORE, the Plaintiff respectfully requests the Court to declare that the actions

of the Defendant violated the Americans with Disabilities Act, issue a permanent injunction

enjoining the Defendant from continuing its discriminatory policies and practices at any of its

hotels, and award Plaintiff his attorney's fees, costs, and expenses incurred in this action .
Count II - Violatioii of The Florida Civil Rights Act

29. Plaintiff restates paragraphs one through 15 and 17 through 26 as if
alleged herein.

30. Defendant's hotel, is a public lodging establishment pursuant to the
definitions in Florida Statute § 509.013, and § 760.02(11)(a).

31. Pursuant to Florida Statute § 509.092, such an establishment may not
refuse accommodations due to a customers physical disability, as follows:

Public lodging establishments and public food service
establishments are private enterprises, and the operator has
the right to refuse accommodations or service to any person

who is objectionable or undesirable to the operator, but
such refusal may not be based upon race, creed, color, sex,

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physical disability, or national origin,

A person aggrieved by a violation of this section or a
violation of a rule adopted under this section has a right of
action pursuant to s 760.11.

32. Pursuant to Florida Statute § 760.08, such an establishment may not

discriminate against a person due to a customers physical disability.

All persons shall be entitled to the full and equal enjoyment
of the goods, services, facilities, privileges advantages, and
accommodations of any place of public accommodation, as
defined in this chapter, without discrimination or segregation
on the ground of race, color, national origin, sex, handicap,
familial status, or religion.

33. Courts construe the Florida Civil Rights Act in conformity with the federal
Americans with Disabilities Act and apply federal case law when dealing
with such claims

34. The Plaintiff has retained the services of The Law Offices of Matthew W.
Dietz, P.L., and has agreed to pay them a reasonable fee for services in the
prosecution of this cause, including costs and expenses incurred in this
action, Plaintiff is entitled to recover those attomeys' fees, costs and expenses
from Defendant pursuant to Florida Statute § 760.11(5).

35 . Pursuant to Florida Statute § 760.11(5), the court may issue an order
prohibiting the discriminatory practice and provide affirmative relief, such as
compensatory damages, damages for mental suffering, anguish, loss of

dignity, and any other intangible injuries, and punitive damages

WHEREFORE, the Plaintiff respectfully requests the Court issue a permanent injunction

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enjoining the Defendant from continuing its discriminatory policies and practices, and
demand compensatory damages, damages for mental suffering, anguish, loss of dignity, and

any other intangible injuries, punitive damages, and an award for Plaintiff’s attorney's fees,

costs, and expenses incurred

PLAINTIFF DEMANDS A TRIAL BY JURY FOR ALL ISSUES FOR ALL ISSUES
FOR WHICH A TRIAL BY JURY IS PERMITTED.

Dated this & day of March, 2005

LAW OFFICES OF MATTHEW W. DIETZ, P.L.
999 Ponce De Leon Blvd. Ste 735

Coral Gables, Florida 33

Phone (305) 669-2822

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Law Offices of Matthew W. Dietz, P.L.*999 Ponce de Leon Blvd.*Suite 735*Coral Gables, Florida 33134

